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Attorneys for Defendant, HILLSTONE RESTAURANT GROUP, INC.

 

UNITED STATE DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MARICELLA SOLORZANO and Case No.:
JAMES H. FORTNER,
Rrange County Superior Court Case
Plaintiffs, 0-2019-01111195-CU-PO-CJC
VS. NOTICE OF REMOVAL
HILLSTONE RESTAURANT
GROUP, INC. HOUSTON’S and
DOES 1| to 50 Inclusive, Complaint Filed: 11/12/2019
Defendants.

 

 

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE THAT Defendant, Hillstone Restaurant Group, Inc.
hereby removes to this Court the state court action described below. Removal of
this action is proper for the following reasons:

IL TIMELINESS

1. Plaintiffs, Maricella Solorzano and James H. Fortner commenced their
action on or about November 12, 2019, by filing a Complaint asserting causes of
action for Premises Liability and Negligence. A true and correct copy of the

Complaint and Plaintiffs’ Statement of Damages are attached hereto as Exhibit A.

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NOTICE OF REMOVAL

 

 
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2. Defendant, Hillstone Restaurant Group, Inc. is named as a defendant; it
has been served with the Complaint.

3. This notice of removal is timely in that it is filed on or before thirty
(30) days after service of the Complaint, and the Complaint contains notice that the
case is removable within the meaning of 28 USC §§ 1441(b) and 1446.

Il. BASIS FOR REMOVAL

4, This is a civil action over which this Court has original jurisdiction
under Title 28 U.S.C. § 1332(a)(1), and is one which may be removed to this Court
by defendant, Hillstone Restaurant Group, Inc., pursuant to the provisions of Title
28 U.S.C. § 1441(b) in that the action is between citizens of different States.

5. Plaintiffs’ Complaint alleges that the incident occurred in the State of
California. Plaintiffs also reside in California. Defendant, Hillstone Restaurant
Group, Inc. is a corporation registered in Delaware, with a principal place of
business in Georgia, where its high-level officers direct, control, and coordinate the
company’s activities.

6. Plaintiff, Maricella Solorzano has alleged damages of $10.4 million.

7. Plaintiff, James Fortner has alleged damages of $500,000.00.

Tl. VENUE

8. The Orange County Superior Court is located within the jurisdiction of
the United State District Court, Central District of California. See Title 28 U.S.C. §
84(c)(2). This venue is proper, pursuant to Title 28 U.S.C. §1391. This Notice of
Removal is therefore properly filed in this Court, pursuant to Title 28 U.S.C. § 1441.
IV. PLEADINGS AND PROCESS

9. Other than Exhibit A, there are no other pleadings on file in the State
Court action. This Notice of Removal is being filed without prejudice to
Defendant’s objections and defenses.

9. Counsel for Defendant certifies that it will file a true and correct copy

of this Notice of Removal with the Clerk of the Superior Court of California,

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County of Orange, as required by Title 28 U.S.C. § 1446, and give notice of same to
Plaintiffs.

WHEREFORE, Defendant, Hillstonre Restaurant Group, Inc., hereby
removes the action now pending against it in the Superior Court of the State of
California for the County of Orange, to this Honorable Court, and requests that this
Court retain jurisdiction for all further proceedings.

Dated: January 2, 2020 BRADLEY & GMELICH LLP

 

By:

 

Thomas P. Gmelich
Lily Nhan

Attorneys for Defendant, HILLSTONE
RESTAURANT GROUP, INC.

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PROOF OF SERVICE

Maricella Solorzano, et al. vs. Hillstone Restaurant Group, Inc., et al.

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

At the time of service, I was over 18 years of age and not a party to this
action. I am employed in the County of Los Angeles, State of California. M
pusiness address is 700 North Brand Boulevard, 10th Floor, Glendale, CA 91203-

On J anny 2 2020, I served true copies of the following document(s)
gercribed as NOTICE OF REMOVAL on the interested parties in this action as
ollows:

Granth J. Crhoelman, Esq.

California Injury, PLC

5900 Sepulveda Boulevard, Suite 330
Van Nuys, CA 91411

Telephone: 888-999-0828

Facsimile: 310-861-1505

E-Mail: granth@californiainjury.com
Attorneys for Plaintiffs, Maricella
Solorzano and James H. Fortner

 

BY MAIL: I enclosed the document(s) in a sealed envelope or package
addressed to the parsons at the addresses listed in the Service List and placed the
envelope for collection and mailing, following our ordinary business practices. I am
readily familiar with Bradley & Gmelich LLP's practice for collecting and
processing correspondence for mailing. On the same day that correspondence is
placed for collection and mailing, it is deposited in the ordinary course of business
with ri United States Postal Service, in a sealed envelope with postage fully
prepaid.

BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
the document(s) with the Clerk of the Court by using the CM/ECF system.
Participants in the case who are registered CM/ECF users will be served by the
CM/ECF system. Participants in the case who are not registered CM/ECF users will
be served by mail or by other means permitted by the court rules.

I declare under penalty of perjury under the laws of the State of California
that the foregoing is true and correct.

Executed on January 2, 2020, at Glendale, California.

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NOTICE OF REMOVAL

 
